      Case: 1:19-cv-03436 Document #: 1 Filed: 05/22/19 Page 1 of 23 PageID #:1




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MARK PACCHINI,

                              Plaintiff,
                                                     Case No. 1:19-cv-03436
v.
                                                     District Judge: Hon.
FRONTEIR HOCKEY OÜ, a Foreign
Corporation; BOSPORT S.R.O., a Foreign
Corporation; and MONTREAL HOCKEY CO.
                                                     JURY TRIAL DEMANDED
LLC,

                              Defendants.

                           PLAINTIFF’S COMPLAINT AT LAW

       Plaintiff, MARK PACCHINI (hereinafter “PLAINTIFF”), through his undersigned

counsel, hereby files this Complaint at Law for Damages against Defendants, FRONTIER

HOCKEY OÜ, a Foreign Corporation (hereinafter “FRONTIER”); BOSPORT S.R.O., a Foreign

Corporation (hereinafter “BOSPORT”); and MONTREAL HOCKEY CO. LLC (hereinafter

“MONTREAL”).

                                       INTRODUCTION

       1.      On August 11, 2018, Plaintiff, MARK PACCHINI, sustained serious bodily injury

and physical harm while he was engaged in a hockey game and wearing a Front-Line Visor, serial

number EN ISO 10256 (the “Subject Front-Line Visor”), designed, manufactured, sold and

distributed by Defendants, and each of them.

       2.      Specifically, Plaintiff, MARK PACCHINI, was injured when an offensive player

came down the wing and shot the puck, which deflected off of Plaintiff’s stick and into the Subject

Front-Line Visor, causing the Visor to shatter and resulting in serious injuries to Plaintiff, MARK

PACCHINI (the “Incident”).
      Case: 1:19-cv-03436 Document #: 1 Filed: 05/22/19 Page 2 of 23 PageID #:1




                                          THE PARTIES

       3.      Plaintiff, MARK PACCHINI, an individual, is a citizen and resident of the State of

Illinois and the United States.

       4.      Defendant, FRONTIER HOCKEY OÜ (“FRONTIER”), is a foreign private limited

company by shares (known as an osaühing), akin to a privately held corporation in the United

States, organized and existing under the laws of Estonia, with its principal place of business at

Voiste, Parnumma, Estonia.

       5.      At all relevant times, FRONTIER was engaged in the international business of

designing, manufacturing assembling, testing, servicing, and selling commercial hockey

equipment and accessories, including, specifically, the Subject Front-Line Visor, serial number

EN ISO 10256, through global agents and representatives, including agents and representatives in

the United States and in Illinois.

       6.      At all relevant times, FRONTIER had an agreement with a distributor in the United

States marketing to, targeting and selling its products to customers located in the United States,

including, specifically, in the State of Illinois, and had dealers located at various locations in the

United States, including the State of Illinois, who were authorized to sell FRONTIER’S products,

including, specifically, the Subject Front-Line Visor, serial number EN ISO 10256.

       7.      Defendant, BOSPORT S.R.O. (“BOSPORT”), is a foreign private limited company

which is by capital and not by shares (known as a společnost s ručením omezeným), akin to a

limited liability company in the United States, organized and existing under the laws of the Czech

Republic, with its principal place of business at Skuteč, Pardubický, Czech Republic, and, based

on information and belief, each of its members is a citizen and resident of the Czech Republic.




                                                  2
       Case: 1:19-cv-03436 Document #: 1 Filed: 05/22/19 Page 3 of 23 PageID #:1




        8.     At all relevant times, BOSPORT was engaged in the international business of

designing, manufacturing assembling, testing, servicing, and selling commercial hockey

equipment and accessories, including, specifically, the Subject Front-Line Visor, serial number

EN ISO 10256, under the FRONTIER brand, through global agents and representatives, including

agents and representatives located in the United States.

        9.     Defendant, MONTREAL HOCKEY CO. LLC (“MONTREAL”), is a limited

liability company organized and existing under the laws of the State of Connecticut, with its

principal place of business at Stamford, Connecticut.

        10.    Defendant, MONTREAL, has one member of the limited liability company,

Markku Maunula, who is a citizen and resident of the State of Connecticut.

        11.    Defendant, MONTREAL, was and is the U.S.-based distributor of hockey

equipment and accessories manufactured by FRONTIER and/or under the FRONTIER brand, and

distributed FRONTIER-brand products, including the Subject Front-Line Visor, serial number EN

ISO 10256, to dealers located across the United States, including multiple locations in the State of

Illinois.

        12.    At all relevant times, FRONTIER, BOSPORT and MONTREAL, and each of them,

knew, were fully aware, and specifically intended that consumers in the State of Illinois would

purchase and use FRONTIER-brand hockey equipment and accessories, including the Subject

Front-Line Visor, serial number EN ISO 10256, within the State of Illinois.

        13.    Plaintiff, MARK PACCHINI, purchased the Subject Front-Line Visor, serial

number EN ISO 10256, from a dealer located in the State of Illinois and was injured while wearing

the Subject Front-Line Visor, serial number EN ISO 10256, while he was physically in the State

of Illinois.



                                                 3
       Case: 1:19-cv-03436 Document #: 1 Filed: 05/22/19 Page 4 of 23 PageID #:1




                                 JURISDICTION AND VENUE

        14.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 on the

ground that the matter in controversy exceeds the sum or value of $75,000, exclusive of interest

and costs, and is between citizens of different States and in which citizens or subjects of a foreign

state are additional parties.

        15.     Plaintiff, MARK PACCHINI, an individual, is a citizen and resident of the State of

Illinois.

        16.     Defendant MONTREAL is a citizen of the State of Connecticut because it has its

principal place of business in Stamford, Connecticut, and its sole member is a citizen and resident

of the State of Connecticut.

        17.     Defendant, FRONTIER HOCKEY OÜ (“FRONTIER”), is a citizen of a foreign

state because it is a private limited company by shares (known as an osaühing), akin to a privately

held corporation in the United States, organized and existing under the laws of Estonia, with its

principal place of business at Voiste, Parnumma, Estonia.

        18.     Defendant, BOSPORT S.R.O. (“BOSPORT”), is a citizen of a foreign state because

it is a private limited company which is by capital and not by shares (known as a společnost s

ručením omezeným), akin to a limited liability company in the United States, organized and

existing under the laws of the Czech Republic, with its principal place of business at Skuteč,

Pardubický, Czech Republic, and, based on information and belief, each of its members is a citizen

and resident of the Czech Republic.

        19.     Plaintiff, MARK PACCHINI, prays for judgment in excess of five-hundred

thousand dollars ($500,000.00+) exclusive of interest and costs.




                                                 4
      Case: 1:19-cv-03436 Document #: 1 Filed: 05/22/19 Page 5 of 23 PageID #:1




        20.      Personal jurisdiction over FRONTIER is proper pursuant to 735 ILCS § 5/2-209

in that it is doing business in this State and has continuous and systematic contacts with this State;

it committed a tortious act within this State arising from those contacts; it directed specific

activities to the State of Illinois from which the tortious act arose; and/or the exercise of personal

jurisdiction over it is otherwise permitted by the Illinois Constitution and the Constitution of the

United States.

        21.      Personal jurisdiction over BOSPORT is proper pursuant to 735 ILCS § 5/2-209 in

that it is doing business in this State and has continuous and systematic contacts with this State; it

committed a tortious act within this State arising from those contacts; it directed specific activities

to the State of Illinois from which the tortious act arose; and/or the exercise of personal jurisdiction

over it is otherwise permitted by the Illinois Constitution and the Constitution of the United States.

        22.      Personal jurisdiction over MONTREAL is proper pursuant to 735 ILCS § 5/2-209

in that it is doing business in this State and has continuous and systematic contacts with this State;

it committed a tortious act within this State arising from those contacts; it directed specific

activities to the State of Illinois from which the tortious act arose; and/or the exercise of personal

jurisdiction over it is otherwise permitted by the Illinois Constitution and the Constitution of the

United States.

        23.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to the claim occurred in this district.

                                   FACTUAL ALLEGATIONS

        24.      On August 11, 2018, Plaintiff, MARK PACCHINI, was participating in a hockey

game in Vernon Hills, Illinois and was wearing the Subject Front-Line Visor, serial number EN

ISO 10256.



                                                   5
      Case: 1:19-cv-03436 Document #: 1 Filed: 05/22/19 Page 6 of 23 PageID #:1




        25.     On August 11, 2018, during the hockey game, another player shot the puck which

deflected off Plaintiff, MARK PACCHINI’S, stick and into the Subject Front-Line Visor, serial

number EN ISO 10256.

        26.     The impact of the puck striking the Subject Front-Line Visor caused the visor to

shatter resulting in serious bodily injuries and physical harm to Plaintiff, MARK PACCHINI.

        27.     Specifically, as a result of the impact Plaintiff, MARK PACCHINI, sustained

serious bodily injuries, including, but not limited to, fractures of the nasal bones, hypertrophy of

the nasal turbinates, a deviated nasal septum, as well as injuries to his eye.

        28.     The Subject Front-Line Visor, serial number, EN ISO 10256, was designed and

manufactured by FRONTIER and BOSPORT, and each of them, and distributed by MONTREAL

to a dealer located in the State of Illinois.

        29.     Plaintiff, MARK PACCHINI, purchased the Subject Front-Line Visor, serial

number EN ISO 10256, from a retail shop physically located in the State of Illinois.

        30.     On and before August 11, 2018, and at all relevant times, FRONTIER published

product literature to the effect that the Subject Visor is tested to resist extreme impacts.

        31.     On and before August 11, 2018, and at all relevant times, FRONTIER published

promotional videos showing an experiment in which the FRONTIER visor withstands extreme

impact from a hockey puck without fracturing.

        32.     PLAINTIFF purchased the Subject Visor in reliance on these representations.

        33.     Despite these representations, the Subject Front-Line Visor, serial number EN ISO

10256, was designed and manufactured using a substandard polycarbonate that was of insufficient

molecular weight and thickness to withstand the impact force of a hockey puck.




                                                  6
      Case: 1:19-cv-03436 Document #: 1 Filed: 05/22/19 Page 7 of 23 PageID #:1




        34.       This defect in the design and manufacture of the Subject Visor caused the Subject

Front-Line Visor, serial number EN ISO 10256, to fail when used for its intended and reasonably

foreseeable purpose by Plaintiff, MARK PACCHINI, on August 11, 2018.

                     COUNT I – NEGLIGENCE – FRONTIER HOCKEY OÜ

        35.       Plaintiff, MARK PACCHINI, hereby incorporates by reference Paragraphs 1-34 of

this Complaint as if fully set forth herein and further alleges as to Defendant, FRONTIER

HOCKEY OÜ (hereinafter “FRONTIER”), as follows:

        36.       That on and before August 11, 2018, and at all times herein relevant, Defendant,

FRONTIER, owed a duty of reasonable care in its conduct, including its design, manufacture,

assembly, marketing, sale, and post-sale support of the Subject Front-Line Visor, serial number

EN ISO 10256, so as not to cause injury to persons using the Subject Front-Line Visor, serial

number EN ISO 10256, for its intended and reasonably foreseeable uses, including Plaintiff,

MARK PACCHINI.

        37.       That on and before August 11, 2018, and at all times herein relevant, and

notwithstanding the aforesaid duty, Defendant, FRONTIER, individually and through its agents or

employees, breached its duties to Plaintiff, MARK PACCHINI, in one or more of the following

particulars:

               a. Negligently and carelessly designed the Subject Front-Line Visor using a
                  substandard polycarbonate that rendered it of insufficient molecular weight and
                  thickness to withstand the impact force of a hockey puck without fracturing;

               b. Negligently and carelessly manufactured the Subject Front-Line Visor using a
                  substandard polycarbonate that rendered it of insufficient molecular weight and
                  thickness to withstand the impact force of a hockey puck without fracturing;

               c. Negligently and carelessly failed to warn foreseeable users and consumers that the
                  Subject Front-Line Visor was of insufficient molecular weight and thickness to
                  withstand the impact force of a hockey puck without fracturing;



                                                   7
        Case: 1:19-cv-03436 Document #: 1 Filed: 05/22/19 Page 8 of 23 PageID #:1




               d. Negligently and carelessly tested the Subject Front-Line Visor to ensure that it was
                  of sufficient molecular weight and thickness to withstand the impact force of a
                  hockey puck without fracturing and/or that was otherwise reasonably safe for its
                  intended and reasonably foreseeable uses;

               e. Negligently and carelessly marketed, sold and released into the stream of commerce
                  the Subject Front-Line Visor when it knew or reasonably should have known that
                  it was of insufficient molecular weight and thickness to withstand the impact force
                  of a hockey puck without fracturing; and/or

               f. Was otherwise negligent in the design, testing, manufacture, failure to warn,
                  marketing, sale, and post-sale support of the Subject Front-Line Visor in particulars
                  to be determined through discovery in this action.

         38.      That on August 11, 2018, and as a direct and proximate result of the aforesaid

breach of duties by Defendant, FRONTIER, the Subject Front-Line Visor was caused to and did

shatter as a result of being struck by a hockey puck while being worn by Plaintiff, MARK

PACCHINI, causing Plaintiff, MARK PACCHINI to suffer serious bodily injuries and physical

harm.

         39.      That as a result of his injuries, Plaintiff, MARK PACCHINI, was caused to and

will in the future experience great pain and suffering; has suffered and will in the future suffer

disability and disfigurement; has been caused to incur and will in the future incur expenses for

necessary medical care, treatment and services; has suffered and will in the future suffer a loss of

value of his time, earnings, profits and salaries and has been damaged in his earning capacity; and

has otherwise been damaged in a personal and pecuniary nature.

         WHEREFORE, Plaintiff, MARK PACCHINI, prays that judgment be entered in his favor

and against Defendant, FRONTIER HOCKEY OÜ, in a sum in excess of five-hundred thousand

dollars ($500,000.00+) together with attorneys’ fees, costs, and pre-judgment interest.




                                                    8
      Case: 1:19-cv-03436 Document #: 1 Filed: 05/22/19 Page 9 of 23 PageID #:1




           COUNT II – BREACH OF WARRANTIES – FRONTIER HOCKEY OÜ

       40.     Plaintiff, MARK PACCHINI, hereby incorporates by reference Paragraphs 1-39 of

this Complaint as if fully set forth herein and further alleges as to Defendant, FRONTIER

HOCKEY OÜ (hereinafter “FRONTIER”), as follows:

       41.     That at all relevant times, Defendant, FRONTIER HOCKEY OÜ, warranted both

expressly and impliedly that its design, testing, manufacture, warning, marketing, sale and release

into the stream of commerce of the Subject Front-Line Visor, serial number EN ISO 10256, was

free of defects and safe and reasonably fit for its intended and reasonably foreseeable use and

purpose.

       42.     That notwithstanding Defendant, FRONTIER’s, express and implied warranties of

fitness for its intended use and purpose, the Subject Front-Line Visor, serial number EN ISO

10256, was defective, unsafe, dangerous and unfit for its foreseeable use and purpose that created

an unreasonable hazard when the Subject Front-Line Visor, serial number EN ISO 10256, was

used in a reasonable and foreseeable manner.

       43.     That on August 11, 2018, and as a direct and proximate result of the breach of

warranties by Defendant, FRONTIER, the Subject Front-Line Visor, serial number EN ISO 10256,

was caused to and did shatter as a result of being struck by a hockey puck while being worn by

Plaintiff, MARK PACCHINI, causing Plaintiff, MARK PACCHINI to suffer serious bodily

injuries and physical harm.

       44.     That as a result of his injuries, Plaintiff, MARK PACCHINI, was caused to and

will in the future experience great pain and suffering; has suffered and will in the future suffer

disability and disfigurement; has been caused to incur and will in the future incur expenses for

necessary medical care, treatment and services; has suffered and will in the future suffer a loss of



                                                 9
     Case: 1:19-cv-03436 Document #: 1 Filed: 05/22/19 Page 10 of 23 PageID #:1




value of his time, earnings, profits and salaries and has been damaged in his earning capacity; and

has otherwise been damaged in a personal and pecuniary nature.

       WHEREFORE, Plaintiff, MARK PACCHINI, prays that judgment be entered in his favor

and against Defendant, FRONTIER HOCKEY OÜ, in a sum in excess of five-hundred thousand

dollars ($500,000.00+) together with attorneys’ fees, costs, and pre-judgment interest.

             COUNT III – STRICT LIABILITY – FRONTIER HOCKEY OÜ

       45.     Plaintiff, MARK PACCHINI, hereby incorporates by reference Paragraphs 1-44 of

this Complaint as if fully set forth herein and further alleges as to Defendant, FRONTIER

HOCKEY OÜ (hereinafter “FRONTIER”), as follows:

       46.     That Defendant, FRONTIER, is strictly liable to Plaintiff, MARK PACCHINI, as

contemplated by the Restatement of the Law, second, (Torts) section 402A because it sold and

released into the stream of commerce the Subject Front-Line Visor, serial number EN ISO 10256,

that it knew or should have known was in a defective condition unreasonably dangerous to

Plaintiff, MARK PACCHINI, the ultimate user, because it was manufactured using a substandard

polycarbonate that rendered it of insufficient molecular weight and thickness to withstand the

impact force of a hockey puck without fracturing.

       47.     That Defendant, FRONTIER, is the designer, manufacturer and seller of the Subject

Front-Line Visor, serial number EN ISO 10256, and is engaged in the business of designing,

manufacturing, and selling hockey equipment worldwide.

       48.     That the Subject Front-Line Visor, serial number EN ISO 10256, was expected to

and did reach the user, Plaintiff, MARK PACCHINI, without substantial change in the condition

in which it was sold and/or having been modified, altered, or maintained in accordance with

manuals and instructions published by Defendant, FRONTIER.



                                                10
     Case: 1:19-cv-03436 Document #: 1 Filed: 05/22/19 Page 11 of 23 PageID #:1




       49.     That on August 11, 2018, and as a direct and proximate result of the defective and

unreasonably dangerous condition of the Subject Front-Line Visor, serial number EN ISO 10256,

and the strict liability in tort of Defendant, FRONTIER, the Subject Front-Line Visor, serial

number EN ISO 10256, was caused to and did shatter as a result of being struck by a hockey puck

while being worn by Plaintiff, MARK PACCHINI, causing Plaintiff, MARK PACCHINI to suffer

serious bodily injuries and physical harm.

       50.     That as a result of his injuries, Plaintiff, MARK PACCHINI, was caused to and

will in the future experience great pain and suffering; has suffered and will in the future suffer

disability and disfigurement; has been caused to incur and will in the future incur expenses for

necessary medical care, treatment and services; has suffered and will in the future suffer a loss of

value of his time, earnings, profits and salaries and has been damaged in his earning capacity; and

has otherwise been damaged in a personal and pecuniary nature.

       WHEREFORE, Plaintiff, MARK PACCHINI, prays that judgment be entered in his favor

and against Defendant, FRONTIER HOCKEY OÜ, in a sum in excess of five-hundred thousand

dollars ($500,000.00+) together with attorneys’ fees, costs, and pre-judgment interest.

             COUNT IV – STRICT LIABILITY – MISREPRESENTATION –
                            FRONTIER HOCKEY OÜ

       51.     Plaintiff, MARK PACCHINI, hereby incorporates by reference Paragraphs 1-50 of

this Complaint as if fully set forth herein and further alleges as to Defendant, FRONTIER

HOCKEY OÜ (hereinafter “FRONTIER”), as follows:

       52.     That Defendant, FRONTIER, is engaged in the business of designing,

manufacturing and selling hockey equipment, including, but not limited to, the Subject Front-Line

Visor, serial number EN ISO 10256, to users and consumers in the public, including to Plaintiff,

MARK PACCHINI.

                                                11
     Case: 1:19-cv-03436 Document #: 1 Filed: 05/22/19 Page 12 of 23 PageID #:1




       53.     That Defendant, FRONTIER, is strictly liable to Plaintiff, MARK PACCHINI, as

contemplated by Restatement of the Law, second, (Torts) section 402B, because Defendant,

FRONTIER, by advertising, labels, and/or otherwise made to the public, including Plaintiff,

MARK PACCHINI, a misrepresentation of a material fact concerning the strength and impact

resistance of the Subject Front-Line Visor, serial number EN ISO 10256, including in Defendant,

FRONTIER’S, published literature and online YouTube videos, on which Plaintiff, MARK

PACCHINI, justifiably relied when he purchased the Subject Front-Line Visor, serial number EN

ISO 10256.

       54.     That on August 11, 2018, and as a direct and proximate result of the defective and

unreasonably dangerous condition of the Subject Front-Line Visor, serial number EN ISO 10256,

and the strict liability in tort of Defendant, FRONTIER, the Subject Front-Line Visor, serial

number EN ISO 10256, was caused to and did shatter as a result of being struck by a hockey puck

while being worn by Plaintiff, MARK PACCHINI, causing Plaintiff, MARK PACCHINI to suffer

serious bodily injuries and physical harm.

       55.     That as a result of his injuries, Plaintiff, MARK PACCHINI, was caused to and

will in the future experience great pain and suffering; has suffered and will in the future suffer

disability and disfigurement; has been caused to incur and will in the future incur expenses for

necessary medical care, treatment and services; has suffered and will in the future suffer a loss of

value of his time, earnings, profits and salaries and has been damaged in his earning capacity; and

has otherwise been damaged in a personal and pecuniary nature.

       WHEREFORE, Plaintiff, MARK PACCHINI, prays that judgment be entered in his favor

and against Defendant, FRONTIER HOCKEY OÜ, in a sum in excess of five-hundred thousand

dollars ($500,000.00+) together with attorneys’ fees, costs, and pre-judgment interest.



                                                12
     Case: 1:19-cv-03436 Document #: 1 Filed: 05/22/19 Page 13 of 23 PageID #:1




                          COUNT V – NEGLIGENCE – BOSPORT S.R.O.

        56.       Plaintiff, MARK PACCHINI, hereby incorporates by reference Paragraphs 1-55 of

this Complaint as if fully set forth herein and further alleges as to Defendant, BOSPORT S.R.O.

(hereinafter “BOSPORT”), as follows:

        57.       That on and before August 11, 2018, and at all times herein relevant, Defendant,

BOSPORT, owed a duty of reasonable care in its conduct, including its design, manufacture,

assembly, marketing, sale, and post-sale support of the Subject Front-Line Visor, serial number

EN ISO 10256, so as not to cause injury to persons, including Plaintiff, MARK PACCHINI, using

the product for its intended and reasonably foreseeable uses.

        58.       That on and before August 11, 2018, and at all times herein relevant, and

notwithstanding the aforesaid duty, Defendant, BOSPORT, individually and through its agents or

employees, breached its duties to Plaintiff, MARK PACCHINI, in one or more of the following

particulars:

               a. Negligently and carelessly designed the Subject Front-Line Visor using a
                  substandard polycarbonate that rendered it of insufficient molecular weight and
                  thickness to withstand the impact force of a hockey puck without fracturing;

               b. Negligently and carelessly manufactured the Subject Front-Line Visor using a
                  substandard polycarbonate that rendered it of insufficient molecular weight and
                  thickness to withstand the impact force of a hockey puck without fracturing;

               c. Negligently and carelessly failed to warn foreseeable users and consumers that the
                  Subject Front-Line Visor was of insufficient molecular weight and thickness to
                  withstand the impact force of a hockey puck without fracturing;

               d. Negligently and carelessly tested the Subject Front-Line Visor to ensure that it was
                  of sufficient molecular weight and thickness to withstand the impact force of a
                  hockey puck without fracturing and/or that was otherwise reasonably safe for its
                  intended and reasonably foreseeable uses;

               e. Negligently and carelessly marketed, sold and released into the stream of commerce
                  the Subject Front-Line Visor when it knew or reasonably should have known that



                                                   13
     Case: 1:19-cv-03436 Document #: 1 Filed: 05/22/19 Page 14 of 23 PageID #:1




                 it was of insufficient molecular weight and thickness to withstand the impact force
                 of a hockey puck without fracturing; and/or

              f. Was otherwise negligent in the design, testing, manufacture, failure to warn,
                 marketing, sale, and post-sale support of the Subject Front-Line Visor in particulars
                 to be determined through discovery in this action.

        59.      That on August 11, 2018, and as a direct and proximate result of the aforesaid

breach of duties by Defendant, BOSPORT, the Subject Front-Line Visor was caused to and did

shatter as a result of being struck by a hockey puck while being worn by Plaintiff, MARK

PACCHINI, causing Plaintiff, MARK PACCHINI, to suffer serious bodily injuries and physical

harm.

        60.      That as a result of his injuries, Plaintiff, MARK PACCHINI, was caused to and

will in the future experience great pain and suffering; has suffered and will in the future suffer

disability and disfigurement; has been caused to incur and will in the future incur expenses for

necessary medical care, treatment and services; has suffered and will in the future suffer a loss of

value of his time, earnings, profits and salaries and has been damaged in his earning capacity; and

has otherwise been damaged in a personal and pecuniary nature.

        WHEREFORE, Plaintiff, MARK PACCHINI, prays that judgment be entered in his favor

and against Defendant, BOSPORT S.R.O., in a sum in excess of five-hundred thousand dollars

($500,000.00+) together with attorneys’ fees, costs, and pre-judgment interest.

                COUNT VI – BREACH OF WARRANTIES – BOSPORT S.R.O.

        61.      Plaintiff, MARK PACCHINI, hereby incorporates by reference Paragraphs 1-60 of

this Complaint as if set forth herein and further alleges as to Defendant, BOSPORT S.R.O.

(hereinafter “BOSPORT”), as follows:

        62.      That at all relevant times, Defendant, BOSPORT, warranted both expressly and

impliedly that its design, testing, manufacture, warning, marketing, sale and release into the stream

                                                  14
     Case: 1:19-cv-03436 Document #: 1 Filed: 05/22/19 Page 15 of 23 PageID #:1




of commerce of the Subject Front-Line Visor, serial number EN ISO 10256, was free of defects

and safe and reasonably fit for its intended and reasonably foreseeable use and purpose.

       63.     That notwithstanding Defendant, BOSPORT’s, express and implied warranties of

fitness for its intended use and purpose, the Subject Front-Line Visor, serial number EN ISO

10256, was defective, unsafe, dangerous and unfit for its foreseeable use and purpose that created

an unreasonable hazard when the Subject Front-Line Visor, serial number EN ISO 10256, was

used in a reasonable and foreseeable manner.

       64.     That on August 11, 2018, and as a direct and proximate result of the breach of

warranties by Defendant, BOSPORT, the Subject Front-Line Visor, serial number EN ISO 10256,

was caused to and did shatter as a result of being struck by a hockey puck while being worn by

Plaintiff, MARK PACCHINI, causing Plaintiff, MARK PACCHINI, to suffer serious bodily

injuries and physical harm.

       65.     That as a result of his injuries, Plaintiff, MARK PACCHINI, was caused to and

will in the future experience great pain and suffering; has suffered and will in the future suffer

disability and disfigurement; has been caused to incur and will in the future incur expenses for

necessary medical care, treatment and services; has suffered and will in the future suffer a loss of

value of his time, earnings, profits and salaries and has been and will be damaged in his earning

capacity; and has otherwise been damaged in a personal and pecuniary nature.

       WHEREFORE, Plaintiff, MARK PACCHINI, prays that judgment be entered in his favor

and against Defendant, BOSPORT S.R.O., in a sum in excess of five-hundred thousand dollars

($500,000.00+) together with attorneys’ fees, costs, and pre-judgment interest.




                                                15
     Case: 1:19-cv-03436 Document #: 1 Filed: 05/22/19 Page 16 of 23 PageID #:1




                  COUNT VII – STRICT LIABILITY – BOSPORT S.R.O.

       66.     Plaintiff, MARK PACCHINI, hereby incorporates by reference Paragraphs 1-65 of

this Complaint as if fully set forth herein and further alleges as to Defendant, BOSPORT S.R.O.

(hereinafter “BOSPORT”), as follows:

       67.     That Defendant, BOSPORT, is strictly liable to Plaintiff, MARK PACCHINI, as

contemplated by the Restatement of the Law, second, (Torts) section 402A because it sold and

released into the stream of commerce the Subject Front-Line Visor, serial number EN ISO 10256,

that it knew or should have known was in a defective condition unreasonably dangerous to

Plaintiff, MARK PACCHINI, the ultimate user, because it was manufactured using a substandard

polycarbonate that rendered it of insufficient molecular weight and thickness to withstand the

impact force of a hockey puck without fracturing.

       68.     That Defendant, BOSPORT, is the producer and seller of the Subject Front-Line

Visor, serial number EN ISO 10256, and is engaged in the business of producing and selling visors

for hockey brands worldwide.

       69.     That the Subject Front-Line Visor, serial number EN ISO 10256, was expected to

and did reach the user, Plaintiff, MARK PACCHINI, without substantial change in the condition

in which it was sold and/or having been modified, altered, or maintained in accordance with

manuals and instructions published by Defendant, BOSPORT.

       70.     That on August 11, 2018, and as a direct and proximate result of the defective and

unreasonably dangerous condition of the Subject Front-Line Visor, serial number EN ISO 10256,

and the strict liability in tort of Defendant, BOSPORT, the Subject Front-Line Visor, serial number

EN ISO 10256, was caused to and did shatter as a result of being struck by a hockey puck while




                                                16
      Case: 1:19-cv-03436 Document #: 1 Filed: 05/22/19 Page 17 of 23 PageID #:1




being worn by Plaintiff, MARK PACCHINI, causing Plaintiff, MARK PACCHINI, to suffer

serious bodily injuries and physical harm.

        71.     That as a result of his injuries, Plaintiff, MARK PACCHINI, was caused to and

will in the future experience great pain and suffering; has suffered and will in the future suffer

disability and disfigurement; has been caused to incur and will in the future incur expenses for

necessary medical care, treatment and services; has suffered and will in the future suffer a loss of

value of his time, earnings, profits and salaries and has been damaged in his earning capacity; and

has otherwise been damaged in a personal and pecuniary nature.

        WHEREFORE, Plaintiff, MARK PACCHINI, prays that judgment be entered in his favor

and against Defendant, BOSPORT S.R.O., in a sum in excess of five-hundred thousand dollars

($500,000.00+) together with attorneys’ fees, costs, and pre-judgment interest.

   COUNT VIII – STRICT LIABILITY – MISREPRESENTATION – BOSPORT S.R.O.

        72.     Plaintiff, MARK PACCHINI, hereby incorporates by reference Paragraphs 1-71 of

this Complaint as if fully set forth herein and further alleges as to Defendant, BOSPORT S.R.O.

(hereinafter “BOSPORT”), as follows:

        73.     That Defendant, BOSPORT, is engaged in the business of selling and producing

hockey equipment, including, but not limited to, the Subject Front-Line Visor, serial number EN

ISO 10256, to users and consumers in the public, including Plaintiff, MARK PACCHINI.

        74.     That Defendant, BOSPORT, is strictly liable to Plaintiff, MARK PACCHINI, as

contemplated by the Restatement of the Law, second, (Torts) section 402B, because Defendant,

BOSPORT, by advertising, labels, and/or otherwise made to the public, including Plaintiff, MARK

PACCHINI, a misrepresentation of material fact concerning the strength and impact resistance of

its Front-Line Visors, including the Subject Front-Line Visor, serial number EN ISO 10256,



                                                17
     Case: 1:19-cv-03436 Document #: 1 Filed: 05/22/19 Page 18 of 23 PageID #:1




including in Defendant, BOSPORT’S, published literature and online YouTube videos, on which

Plaintiff, MARK PACCHINI, justifiably relied when he purchased the Subject Front-Line Visor,

serial number EN ISO 10256.

       75.     That on August 11, 2018, and as a direct and proximate result of the defective and

unreasonably dangerous condition of the Subject Front-Line Visor, serial number EN ISO 10256,

and the strict liability in tort of Defendant, BOSPORT, the Subject Front-Line Visor, serial number

EN ISO 10256, was caused to and did shatter as a result of being struck by a hockey puck while

being worn by Plaintiff, MARK PACCHINI, causing Plaintiff, MARK PACCHINI, to suffer

serious bodily injuries and physical harm.

       76.     That as a result of his injuries, Plaintiff, MARK PACCHINI, was caused to and

will in the future experience great pain and suffering; has suffered and will in the future suffer

disability and disfigurement; has been caused to incur and will in the future incur expenses for

necessary medical care, treatment and services; has suffered and will in the future suffer a loss of

value of his time, earnings, profits and salaries and has been damaged in his earning capacity; and

has otherwise been damaged in a personal and pecuniary nature.

       WHEREFORE, Plaintiff, MARK PACCHINI, prays that judgment be entered in his favor

and against Defendant, BOSPORT S.R.O., in a sum in excess of five-hundred thousand dollars

($500,000.00+) together with attorneys’ fees, costs, and pre-judgment interest.

             COUNT IX – NEGLIGENCE – MONTREAL HOCKEY CO. LLC

       77.     Plaintiff, MARK PACCHINI, hereby incorporates by reference Paragraphs 1-76 of

this Complaint as if fully set forth herein and further alleges as to Defendant, MONTREAL

HOCKEY CO. LLC (hereinafter “MONTREAL”), as follows:




                                                18
     Case: 1:19-cv-03436 Document #: 1 Filed: 05/22/19 Page 19 of 23 PageID #:1




        78.       That on and before August 11, 2018, and at all times herein relevant, Defendant,

MONTREAL, owed a duty of reasonable care in its conduct, including its design, manufacture,

assembly, marketing, sale, and post-sale support of the Subject Front-Line Visor, serial number

EN ISO 10256, so as not to cause injury to persons, including Plaintiff, MARK PACCHINI, using

the product for its intended and reasonably foreseeable uses.

        79.       That on and before August 11, 2018, and at all times herein relevant, and

notwithstanding the aforesaid duty, Defendant, MONTREAL, individually and through its agents

or employees, breached its duties to Plaintiff, MARK PACCHINI, in one or more of the following

particulars:

               a. Negligently and carelessly failed to warn foreseeable users and consumers that the
                  Subject Front-Line Visor was of insufficient molecular weight and thickness to
                  withstand the impact force of a hockey puck without fracturing;

               b. Negligently and carelessly marketed, sold and released into the stream of commerce
                  the Subject Front-Line Visor when it knew or reasonably should have known that
                  it was of insufficient molecular weight and thickness to withstand the impact force
                  of a hockey puck without fracturing; and/or

               c. Was otherwise negligent in the design, testing, manufacture, failure to warn,
                  marketing, sale, and post-sale support of the Subject Front-Line Visor in particulars
                  to be determined through discovery in this action.

        80.       That on August 11, 2018, and as a direct and proximate result of the aforesaid

breach of duties by Defendant, MONTREAL, the Subject Front-Line Visor was caused to and did

shatter as a result of being struck by a hockey puck while being worn by Plaintiff, MARK

PACCHINI, causing Plaintiff, MARK PACCHINI, to suffer serious bodily injuries and physical

harm.

        81.       That as a result of his injuries, Plaintiff, MARK PACCHINI, was caused to and

will in the future experience great pain and suffering; has suffered and will in the future suffer

disability and disfigurement; has been caused to incur and will in the future incur expenses for

                                                   19
     Case: 1:19-cv-03436 Document #: 1 Filed: 05/22/19 Page 20 of 23 PageID #:1




necessary medical care, treatment and services; has suffered and will in the future suffer a loss of

value of his time, earnings, profits and salaries and has been damaged in his earning capacity; and

has otherwise been damaged in a personal and pecuniary nature.

       WHEREFORE, Plaintiff, MARK PACCHINI, prays that judgment be entered in his favor

and against Defendant, MONTREAL HOCKEY CO. LLC, in a sum in excess of five-hundred

thousand dollars ($500,000.00+) together with attorneys’ fees, costs, and pre-judgment interest.

     COUNT X – BREACH OF WARRANTIES – MONTREAL HOCKEY CO. LLC

       82.     Plaintiff, MARK PACCHINI, hereby incorporates by reference Paragraphs 1-81 of

this Complaint as if fully set forth herein and further alleges as to Defendant, MONTREAL

HOCKEY CO. LLC (hereinafter “MONTREAL”) as follows:

       83.     That at all relevant times, Defendant, MONTREAL, warranted both expressly and

impliedly that its design, testing, manufacture, warning, marketing, sale and release into the stream

of commerce of the Subject Front-Line Visor, serial number EN ISO 10256, was free of defects

and safe and reasonably fit for its intended and reasonably foreseeable use and purpose.

       84.     That notwithstanding Defendant, MONTREAL’s, express and implied warranties

of fitness for its intended use and purpose, the Subject Front-Line Visor, serial number EN ISO

10256, was defective, unsafe, dangerous and unfit for its foreseeable use and purpose that created

an unreasonable hazard when the Subject Front-Line Visor, serial number EN ISO 10256, was

used in a reasonable and foreseeable manner.

       85.     That on August 11, 2018, and as a direct and proximate result of the breach of

warranties by Defendant, MONTREAL, the Subject Front-Line Visor, serial number EN ISO

10256, was caused to and did shatter as a result of being struck by a hockey puck while being worn




                                                 20
     Case: 1:19-cv-03436 Document #: 1 Filed: 05/22/19 Page 21 of 23 PageID #:1




by Plaintiff, MARK PACCHINI, causing Plaintiff, MARK PACCHINI, to suffer serious bodily

injuries and physical harm.

       86.     That as a result of his injuries, Plaintiff, MARK PACCHINI, was caused to and

will in the future experience great pain and suffering; has suffered and will in the future suffer

disability and disfigurement; has been caused to incur and will in the future incur expenses for

necessary medical care, treatment and services; has suffered and will in the future suffer a loss of

value of his time, earnings, profits and salaries and has been and will be damaged in his earning

capacity; and has otherwise been damaged in a personal and pecuniary nature.

       WHEREFORE, Plaintiff, MARK PACCHINI, prays that judgment be entered in his favor

and against Defendant, MONTREAL HOCKEY CO. LLC, in a sum in excess of five-hundred

thousand dollars ($500,000.00+) together with attorneys’ fees, costs, and pre-judgment interest.

          COUNT XI – STRICT LIABILITY – MONTREAL HOCKEY CO. LLC

       87.     Plaintiff, MARK PACCHINI, hereby incorporates by reference Paragraphs 1-86 of

this Complaint as if fully set forth herein and further alleges as to Defendant, MONTREAL

HOCKEY CO. LLC (hereinafter “MONTREAL”), as follows:

       88.     That Defendant, MONTREAL, is strictly liable to Plaintiff, MARK PACCHINI, as

contemplated by the Restatement of the Law, second, (Torts) section 402A because it sold and

released into the stream of commerce the Subject Front-Line Visor, serial number EN ISO 10256,

that it knew or should have known was in a defective condition unreasonably dangerous to

Plaintiff, MARK PACCHINI, the ultimate user.

       89.     That Defendant, MONTREAL, is the distributor of the Subject Front-Line Visor,

serial number EN ISO 10256, and is engaged in the business of distributing visors and equipment

for Defendant, FRONTIER HOCKEY OÜ, in the United States, including in the State of Illinois.



                                                21
     Case: 1:19-cv-03436 Document #: 1 Filed: 05/22/19 Page 22 of 23 PageID #:1




       90.     That the Subject Front-Line Visor, serial number EN ISO 10256, was expected to

and did reach the user, Plaintiff, MARK PACCHINI, without substantial change in the condition

in which it was sold and/or having been modified, altered, or maintained in accordance with

manuals and instructions published by Defendant, MONTREAL.

       91.     That on August 11, 2018, and as a direct and proximate result of the defective and

unreasonably dangerous condition of the Subject Front-Line Visor, serial number EN ISO 10256,

and the strict liability in tort of Defendant, MONTREAL, the Subject Front-Line Visor, serial

number EN ISO 10256, was caused to and did shatter as a result of being struck by a hockey puck

while being worn by Plaintiff, MARK PACCHINI, causing Plaintiff, MARK PACCHINI, to suffer

serious bodily injuries and physical harm.

       92.     That as a result of his injuries, Plaintiff, MARK PACCHINI, was caused to and

will in the future experience great pain and suffering; has suffered and will in the future suffer

disability and disfigurement; has been caused to incur and will in the future incur expenses for

necessary medical care, treatment and services; has suffered and will in the future suffer a loss of

value of his time, earnings, profits and salaries and has been damaged in his earning capacity; and

has otherwise been damaged in a personal and pecuniary nature.

       WHEREFORE, Plaintiff, MARK PACCHINI, prays that judgment be entered in his favor

and against Defendant, MONTREAL HOCKEY CO. LLC, in a sum in excess of five-hundred

thousand dollars ($500,000.00+) together with attorneys’ fees, costs, and pre-judgment interest.

                                        JURY DEMAND

       Plaintiff, MARK PACCHINI, demands trial by jury on all issues so triable.




                                                22
    Case: 1:19-cv-03436 Document #: 1 Filed: 05/22/19 Page 23 of 23 PageID #:1




Dated: May 22, 2019                         Respectfully submitted,

                                            s/ Larry S. Kaplan
                                            Larry S. Kaplan – ARDC No. 1398717
                                            Marnie A. Holz – ARDC No. 6309264
                                            KMA ZUCKERT LLC
                                            200 West Madison Street, 16th Floor
                                            Chicago, Illinois 60606
                                            lkaplan@kmazuckert.com
                                            mholz@kmazuckert.com
                                            Telephone: (312) 345-3000
                                            Facsimile: (312) 345-3119

                                            Attorneys for Plaintiff,
                                            Mark Pacchini




                                       23
